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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA
______________________________________________________________________________

SAMUEL ENNING,                                                 CASE NO. 1:14-cv-00518-JDB
         Plaintiff,
                                                               Judge John D. Bates
         vs.

TRANS UNION,
            Defendant.
______________________________________________________________________________

     DEFENDANT TRANS UNION, LLC’S MOTION TO DISMISS PLAINTIFF’S
       COMPLAINT WITH PREJUDICE FOR FAILURE TO STATE A CLAIM
______________________________________________________________________________

         Defendant Trans Union, LLC, incorrectly identified as Trans Union (“Trans Union”), by

counsel, respectfully submits its Motion To Dismiss Plaintiff’s Complaint With Prejudice For

Failure To State A Claim (the “Motion”).

         The Motion should be granted in this alleged Fair Credit Reporting Act (“FCRA”) case

where Plaintiff demands judgment against Trans Union for $999,999 trillion because:

         A.      Plaintiff’s unintelligible, one-page, handwritten Complaint fails to plead any facts

showing that Plaintiff is entitled to relief against Trans Union; as such, Twombly requires that it

be dismissed because it fails to provide Trans Union with fair notice of what Plaintiff’s claims

are and the grounds upon which they rest; and

         B.      Plaintiff’s Complaint is fatally deficient because it fails to allege that Trans Union

reported any inaccurate information, which is an essential element of a claim under the FCRA.

         The grounds for this Motion are stated more fully in Trans Union’s accompanying Brief

In Support of its Motion To Dismiss Plaintiff’s Complaint With Prejudice For Failure To State A

Claim.




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Date: April 2, 2014                          Respectfully submitted,



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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA
______________________________________________________________________________

SAMUEL ENNING,                                               CASE NO. 1:14-cv-00518-JDB
         Plaintiff,
                                                             Judge John D. Bates
       vs.

TRANS UNION,
            Defendant.
______________________________________________________________________________

   DEFENDANT TRANS UNION, LLC’S BRIEF IN SUPPORT OF ITS MOTION TO
             DISMISS PLAINTIFF’S COMPLAINT WITH PREJUDICE
                      FOR FAILURE TO STATE A CLAIM
______________________________________________________________________________

       Defendant Trans Union, LLC, incorrectly identified as Trans Union (“Trans Union”), by

counsel, respectfully submits this Brief In Support of its Motion To Dismiss Plaintiff’s

Complaint With Prejudice For Failure To State A Claim (the “Motion”).

       The Motion should be granted in this alleged Fair Credit Reporting Act (“FCRA”) case

where Plaintiff demands judgment against Trans Union for $999,999 trillion because:

       A.      Plaintiff’s unintelligible, one-page, handwritten Complaint fails to plead any facts

showing that Plaintiff is entitled to relief against Trans Union; as such, Twombly requires that it

be dismissed because it fails to provide Trans Union with fair notice of what Plaintiff’s claims

are and the grounds upon which they rest; and

       B.      Plaintiff’s Complaint is fatally deficient because it fails to allege that Trans Union

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I.      INTRODUCTION

        Plaintiff’s Complaint (attached hereto as “Exhibit A”) consists of an unintelligible, one-

page, handwritten list of terms, occasionally followed by the word “violations,” with no

punctuation other than commas. See Complaint. At best, the Complaint purports to assert some

unidentified violation of the FCRA1 by Trans Union for “Racial Illegal Accounts Reference #

Illegal Bills of $999 Trillion in my Name – Samuel Enning since 1992” and demands judgment

against Trans Union in the amount of “$999999 Trillion [sic].” Id.

II.     LEGAL STANDARD

        Pursuant to Rule 8 of the D.C. Superior Court Rules of Civil Procedure and Rule 8 of the

Federal Rules of Civil Procedure (“Rule 8”), upon which they are closely modeled, a complaint

must contain a “short and plain statement of the claim showing that the pleader is entitled to

relief” and each allegation must be “simple, concise, and direct.” D.C. SUP. CT. R. 8(a)(2),

8(e)(1);2 FED. R. CIV. P. 8(a)(2), 8(d)(1). In general, a pleading must provide “fair notice of what

the plaintiff’s claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47 (1957)). “Threadbare recitals

of the elements of a cause of action, supported by mere conclusory statements, do not suffice.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 555).

        Although pro se plaintiffs are generally given more leeway than trained legal counsel,

courts have not hesitated “to require even pro se litigants to state their claims in an

understandable and efficient manner.” Stone v. Warfield, 184 F.R.D. 553, 555 (D. Md. 1999)

(citing Anderson v. Univ. of Md. Sch. of Law, 130 F.R.D. 616, 617 (D. Md. 1989)); Hilska v.

1
  Wrongly identified as the “Fed. Fair Credit Reportings, Scores, Protections Procedures Acts and Laws.”
2
  Rules 1-86 of the D.C. Superior Court Rules of Civil Procedure “are derived directly from the correspondingly
numbered Federal Rules and are in many cases identical thereto.” D.C. SUP. CT. R. pmbl. “One of the primary
objectives in the drafting and adoption of the … Superior Court Rules of Civil Procedure has been to provide an
integral and convenient rules structure modeled closely on that of the Federal Rules of Civil Procedure.” Id.


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Jones, 217 F.R.D. 16 (D. D.C. 2003) (finding that the Court’s indulging treatment of pro se

litigants did not constitute a license to ignore the Federal Rules of Civil Procedure). To this end,

the Court “is not obliged to ferret through a Complaint, searching for viable claims.” Wynn-Bey

v. Talley, No. RWT-12-3121, 2012 U.S. Dist. LEXIS 168892, at *4 (D. Md. Nov. 28, 2012).

Rather, the Court “may dismiss a complaint that is so confused, ambiguous, vague or otherwise

unintelligible that its true substance, if any, is well disguised.” Id. at *5 (quoting Salhuddin v.

Cuomo, 861 F.2d 40, 42 (2d Cir. 1988)).

III.   ARGUMENT

       A.      Plaintiff’s Unintelligible, One-Page, Handwritten Complaint Fails To Plead
               Any Facts Showing That Plaintiff Is Entitled To Relief Against Trans Union;
               As Such, Twombly Requires That It Be Dismissed Because It Fails To
               Provide Trans Union With Fair Notice Of What Plaintiff’s Claims Are And
               The Grounds Upon Which They Rest.

        Even accorded a traditionally liberal reading, Plaintiff’s Complaint fails to plead any

intelligible facts. To survive a motion to dismiss, the Complaint must contain a showing of the

Plaintiff’s entitlement to relief, rather than labels and conclusions, and must be supported by

factual allegations. See Twombly, 550 U.S. at 555. While detailed factual allegations are not

required, the Complaint must, at a minimum, provide “fair notice of what the plaintiff’s claim is

and the grounds upon which it rests.” Id.

       Here, Plaintiff’s Complaint is based on a bizarre statement, apparently missing verbs,

“Racial Illegal Accounts Reference # Illegal Bills of $999 Trillion in my Name – Samuel Enning

since 1992,” followed by a list of nouns, occasionally followed by the word “violations,” with no

punctuation other than commas. See Complaint. None of Plaintiff’s claims are supported by

factual allegations that Trans Union violated the FCRA or any other law. Further, Plaintiff’s




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Complaint is so unorganized, confusing and vague that Trans Union cannot even discern what

Plaintiff is attempting to allege.

        Accordingly, Plaintiff’s Complaint fails to provide Trans Union with fair notice of what

Plaintiff’s claims are and the grounds upon which they rest. Despite Plaintiff’s status as a pro se

litigant, neither Trans Union nor this Court is charged with the responsibility to ferret through a

Complaint that is so unintelligible, confusing, ambiguous and vague that its true substance, if

any, is completely missing or disguised.

        B.      Plaintiff’s Complaint Is Fatally Deficient Because It Fails To Allege That
                Trans Union Reported Any Inaccurate Information, Which Is An Essential
                Element Of A Claim Under The FCRA.

        Plaintiff’s Complaint apparently purports to assert violations of the FCRA by Trans

Union. To establish a claim under the FCRA, Plaintiff must, at a minimum, demonstrate an

inaccuracy in Trans Union’s reporting. See, e.g., Wilson v. Prudential Fin., 603 F. Supp. 2d 163,

167 (D. D.C. 2009). “Without evidence of some inaccuracy in the Trans Union report or

reinvestigation, [Plaintiff] cannot establish that Trans Union violated the FCRA – either §

1681e(b) or § 1681i(a)(1)(A).” Kuehling v. Trans Union, LLC, 137 Fed. Appx. 904, 908 (7th

Cir. 2005); DeAndrade v. Trans Union, LLC, 523 F.3d 61, 67-68 (1st Cir. 2008); Shannon v.

Equifax Info. Servs., LLC, 764 F. Supp. 2d 714, 721 (E.D. Pa. 2011).

        Here, Plaintiff merely lists a series of nouns, without verbs or punctuation other than

commas, such as “Illegal Accounts,” “Illegal Bills” and “variadion [sic] violations,” but fails to

allege or identify any inaccuracy in Trans Union’s reporting. Accordingly, because Plaintiff has

failed to plead that Trans Union reported any inaccurate information, Plaintiff’s Complaint is

fatally deficient and Plaintiff cannot establish a claim under the FCRA.




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IV.    CONCLUSION

       For the foregoing reasons, Trans Union respectfully requests that this Court issue an

Order dismissing Plaintiff’s Complaint against Trans Union, with prejudice, pursuant to Federal

Rule of Civil Procedure 12(b)(6) and award such further relief as the Court finds just and

equitable.




Date: April 2, 2014                                  Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing has been filed electronically

on the 2nd day of April, 2014. Notice of this filing will be sent to the following parties by

operation of the Court’s electronic filing system. Parties may access this filing through the

Court’s electronic filing.

None.

        The undersigned further certifies that a true copy of the foregoing was served on the

following parties via First Class, U.S. Mail, postage prepaid, on the 2nd day of April, 2014,

properly addressed as follows:

Pro Se Plaintiff
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P.O. Box 55110
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